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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON


ANTOINE DESHAWN MILLER,

           Movant,

v.                                            CIVIL ACTION NO. 2:08-00813
                                      (Criminal Action No. 2:04-00096-02)

UNITED STATES OF AMERICA,

           Respondent.


                       MEMORANDUM OPINION AND ORDER

     By Standing Order entered on August 1, 2006, and filed in

this case on June 6, 2008, this action was referred to United

States Magistrate Judge Mary E. Stanley for submission of

Proposed Findings and Recommendation (“PF&R”).              (Doc. No. 163.)

Magistrate Judge Stanley submitted her PF&R on August 18, 2008.

(Doc. No. 172.)       In that PF&R, the magistrate judge recommended

that this court deny movant’s § 2255 Motion and dismiss this

matter from the court’s active docket.            (Id. at 3.)

     In accordance with the provisions of 28 U.S.C. § 636(b), the

parties were allotted ten days, plus three mailing days, in which

to file any objections to Magistrate Judge Stanley’s Findings and

Recommendation.       No party has filed objections within the

requisite period, and the failure of any party to file such

objections constitutes a waiver of such party's right to a de
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novo review by this court.      Snyder v. Ridenour, 889 F.2d 1363

(4th Cir. 1989); Thomas v. Arn, 474 U.S. 140 (1985).

     Having reviewed the PF&R filed by the magistrate judge, the

court adopts the findings and recommendations contained therein.

Accordingly, the court hereby DENIES movant’s Motion to Vacate,

Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 (Doc.

No. 161.); and DISMISSES this matter from the court’s active

docket.

     The Clerk is directed to remove this matter from the court’s

active docket, and to forward a copy of this written Memorandum

Opinion and Order to counsel of record and to the movant, pro se.

     It is SO ORDERED this 9th day of September, 2008.

                                     ENTER:


                                     David A. Faber
                                     United States District Judge
